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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

 KAMIYUN SULLIVAN                                                                    PLAINTIFF

 VS.                                                  CIVIL ACTION NO. 1:18-CV-207-GHD-DAS


 DALTON TURNER, BELLSOUTH
 TELECOMMUNICATIONS, LLC d/b/a
 AT&T MISSISSIPPI, DIRECTV, LLC, ARI
 FLEET, LT, JOHN DOE PERSON(S) 1-5
 and JOHN DOE ENTITY(IES) 1-5                                                     DEFENDANTS




                     CORPORATE DISCLOSURE STATEMENT OF
                               DIRECTV, L.L.C.


        Pursuant to Rule 7.1 of the FEDERAL RULES OF CIVIL PROCEDURE, Defendant, DirecTV,

L.L.C., submits the following disclosure statement:

        DIRECTV, LLC, a California limited liability company, is a wholly-owned subsidiary of

DIRECTV Holdings, LLC. DIRECTV Holdings LLC, a Delaware limited liability company, is a

wholly-owned subsidiary of The DIRECTV Group, Inc. The DIRECTV Group, Inc., a Delaware

corporation, is jointly owned by Greenlady Corp. (56.9975%) and DIRECTV Group Holdings,

LLC (43.0025%).

        Greenlady Corp., a Delaware corporation, is a wholly-owned subsidiary of DIRECTV

Group Holdings, LLC. DIRECTV Group Holdings, LLC, a Delaware limited liability company,

is a wholly-owned subsidiary of AT&T, Inc. AT&T Inc., a Delaware corporation, is a publicly

traded company of the New York Exchange. There is no one person or group that owns 10% or

more of the stock of AT&T Inc.
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       Respectfully submitted this the 28th day of November, 2018.
                                              DIRECTV, LLC



                                              By: /s/David W. Upchurch
                                                  DAVID W. UPCHURCH, MSB #10558
                                                  dupchurch@upchurchpa.com



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Attorneys for Defendant, DIRECTV, LLC



                                 CERTIFICATE OF SERVICE


       I, David W. Upchurch, attorney for the Defendant, DIRECTV, LLC, hereby certify that

on this day I electronically filed the foregoing with the Clerk of the Court using the ECF system

which sent notification of such filing to the following:

       Raju Aundré Branson, Esq.
       Schwartz & Associates, P.A.
       162 East Amite Street (39201)
       Post Office Box 3949
       Jackson, MS 39207-3949
       abranson@1call.org

       Dated this the 28th day of November, 2018.



                                                      /s/David W. Upchurch
                                                      DAVID W. UPCHURCH




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